Case 2:17-cv-00399-TJH-JC Document 25-1 Filed 12/20/17 Page 1 of 5 Page ID #:67



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                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                       FOR THE COUNTY OF LOS ANGELES                          WARRANT ISSUED .

              THE PEOPLE OF THE STATE OF CALIFORNIA,                            CASE NO. BA463301         ,~
                                                                                                          c.:>
                                                                                                          \··-·'
                                                                  Plaintiff,                              - --.l

                                 v.                                                             ,.
                                                                                                           ,........,
                                                                                                           !'.::'J

                             .                    'i7CJ" c,1-;~                 FELONY COMPLAIJVT .•
                                                                                                      ,     c:>
              01 PEDRO LUIS PRIETO (DOB: I           .. _ .. 1)
                                                         Defendant(s).          FORARRESTWARRANT              -'-        .
                                                                                                                        \ .-;-;
                                                                                                                        1• I
                                                                                                                         CJ

   The undersigned is informed and believes that:
                                                                                         ORlGINA~. ·
                                                      COUNT 1                                                                     \


                 On or about August 29, 2016, in the County of Los Angeles, the crime of POSSESSION OF MONEY
   OR INSTRUMENTS OVER $100,000.00, in violation of HEALTH AND SAFETY CODE SECTION
   l 1370.6(a), a Felony, was committed by PEDRO LUIS PRIETO, who did unlawfully possess money and
   negotiable instruments in excess of $100,000.00 which were obtained as the result of the unlawful
   TRAFFICKING of A CONTROLLED SUBSTANCE with knowledge that the monies and negotiable
   instruments were so obtained and did also possess that money and negotiable insttuments with the intent to
   unlawfully purchase OF A CONTROLLED SUBSTANCE and did commit an act in furtherance of the
   unlawful purchase.
   "NOTICE: Conviction of this offense will require you to register pursuant to Health and Safety Code section
   11590. Failure to do so is a crime pursuant to Health and Safety Code section 11594. 11


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   Rev. 920-6/03 DA Case 37502174                                                                    Case No. BA463301
                                      FELONY CO                                'ST WARRANT


                                                        f.S
Case 2:17-cv-00399-TJH-JC Document 25-1 Filed 12/20/17 Page 2 of 5 Page ID #:68




   NOTICE: Conviction of this offense will require the defendant to provide DNA samples and print
   impressions pursuant to Penal Code sections 296 and 296.1. Willful refusal to provide the samples and
   impressions is a crime.
                                                                                                            I
   NOTICE: The People of the State of California intend to present evidence and seek jury findings
   regarding all applicable circumstances in aggravation, pursuant to Penal Code section 1170(b) and
                                                                                                            I
   Cimning(iam v. Califomia (2007) 549 U.S. 270.


   NOTICE: A Suspected Child Abuse Report (SCAR) may have been generated within the meaning of
   Penal Code§§ 11166 and 11168 involving the charges alleged in this complaint. Dissemination of a
   SCAR is limited by Penal Code§§ 11167 and 11167.5 and a court order is required for full disclosure of
   the contents of a SCAR.


   NOTICE: Any allegation making a defendant ineligible to serve a state prison sentence in the county
   jail shall not be subject to dismissal pursuant to Penal Code § 1385.


   NOTICE: Conviction of this offense prohibits you from owning, purchasing, receiving, possessing, or
   having under your custody and control any firearms, and effective January 1, 2018, will require you to
   complete a Prohibited Persons Relinquishment Form ("PPR") pursuant to Penal Code § 29810.




   Rev. 920-6/03 DA Case 37502174           Pim:ff:                                     Case No. BA463301
                                FELONY COMPLAINT FOR ARREST WARRANT

                                                   r. r,
Case 2:17-cv-00399-TJH-JC Document 25-1 Filed 12/20/17 Page 3 of 5 Page ID #:69

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   Further, attached hereto and incorporated herein are official reports and documents of a law enforcement
   agency which the undersigned believes establish probable cause for the arrest of defendant(s) PEDRO LUIS
   PRIETO for the above-listed crimes. Wherefore, a warrant of arrest is requested for PEDRO LUIS PRIETO.


   I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT
   AND THAT THIS COMPLAINT, CASE NUMBER BA463301, CONSISTS OF 1 COUNT(S).




                                                                CRUZ A UE~1\.S
                                                                DECLARANTANDCOMPLAINANT


   JACKIE LACEY, DISTRICT ATTORNEY

                                                               BY:    ./:{_
                                                                     MICHAEL DEAN, DEPUTY




   AGENCY:        U.S. DRUG        I/0: CRUZ A RUELAS                       ID NO.: 460220       PHONE: (213) 894-2650
                  ENFORCEMENT
                  ADMIN. - L.A. DN
   DRNO.:        1515740            OPERATOR: LC                            PRELIM. TIME EST.:      60 MINUTE(S)




                                                                             BOOKING            BAIL       CUSTODY
   DEFENDANT                                   CIINO.          DOB             NO.              RECOM'D    R'TN DATE
    PRIETO, PEDRO LUIS                                          9/7/1989                         $25,000




   It appearing to the Court that probable cause exists for the issuance of a warrant of arrest for the above-named
   defendant(s), the wall'ant is so ordered.


    PEDRO PRIETO                                               BAIL: $     __ J.5"________
                                                                               ;:__
                                                                                   oo o    _

   DATE:       le>. · ~ · 1   7
                                                                Judge of the Above Entitled Court
                                                                      Alison M. Estrada
   Rev. 920-6/03 DA Case 37502174                       l3age3                                        Case No. BA463301
                                   FELONY COMPLAINT FOR ARREST WARRANT

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Case 2:17-cv-00399-TJH-JC Document 25-1 Filed 12/20/17 Page 4 of 5 Page ID #:70




    NON-WARRANT DEFENDANTS:

                                                          BOOKING    BAIL      CUSTODY
    DEFENDANT                         CIINO.                NO.      RECOM'D   R'TN DATE




  Rev. 920-6/03 DA Case 37502174           f'age 4
                                                                        Case No. BA463301
                               FELONY COMPLAINT FOR ARREST WARRANT

                                               r.v
          Case 2:17-cv-00399-TJH-JC Document 25-1 Filed 12/20/17 Page 5 of 5 Page ID #:71
                                                  ,--                                                  (
                                                                                                                                         II
-   -   - - - - - --     - - - - -----1'.__-+- --              - --   - - - --        -   ---i\r-.--'-s::-::--   - -- --    - ------1

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              FELONY COMPLAINT -- ORDER HOLDING TO ANSWER -- P.C. SECTION 872                                                            l
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                                                                                                                                         '!
                                                                                                                                         R
              It appearing to me from the evidence presented that the following offense(s) has/have been committed and                   ~
              that there is .sufficient cause to believe that the following defendant(s) guilty thereof, to wit:
                                                                                                                                         II
                                                                                                                                          I(
                                                        (Strike out or add as applicable)                                                ;
                                                                                                                                         I
              PEDRO LUIS PRIETO
               Ct.  Charge                 Charge Range                                             Allegation         Alleg. Effect     I
               1      HS l 1370.6(a)       2-3~4 County Jail
                                                                                                                                          l
              I order that the defendant(s) be held to answer therefore and be admitted to bail in the sum of:
                                                                                                                                          !~
                                                                                                                                              t

                   PEDRO LUIS PRJETO
                                                                        - - - - - -- - - -- - - Dollars

                                                                                                                                          II
              and be committed to the custody of the Sheriff of Los Angeles County until such bail is given. Date of
                                                                                                                                              I~
                                                                                                                                               R
              arraignment in Supe1ior Court will be:
                                                                                                                                               I
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                                                                                                                                               n
                   PEDRO LUIS PRJETO                                         _ _ _ _ _ _ _ _ _ in Dept _ __
                                                                                                                                               ;
                                                                                                                                                  li
                   at: _ _ _ _ _ A.M.




                   Date: _ _ _ _ __
                                                                         Committing Magistrate




                                                                                                                     Case No. BA463301



                                                                   ,. "
                                              FELONY COMPLAINT FOR ARREST WARRANT
